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                               UN ITED STA TES DISTRICT C OU RT
                               SO UTHERN D ISTRICT O F FLO RIDA
                        CA SE N O .17-20307-CR-M A RTm EZ/OTA ZO -M Y ES

   UN ITED STA TES OF AM ERICA

           Plaintiff,


   M ICH AEL W A LK ER,

           Defendant.


          O R DER AD O PTIN G M AG ISTR ATE'S R EPO R T A N D R EC O M M EN DA TIO N

          TH IS CA USE cam e before the Courtupon D efendantM ichaelW alker's

   (içDefendant'')M otion to SuppressEvidenceseized inViolation oftheFourthAmendment
   (ECFNo.248j,filedonDecember11,2017.
          TH E M A TTER wasreferred to United States M agistrate Judge A licia M .Otazo-Reyes,
   and accordingly,the M agistrate Judge conducted an evidentiary hearing on January 4,20l8. A

   ReportandRecommendation LECF No.326)wasfiledonJanuary 12,2018,recommendingthat
   D efendant'sM otion to Suppressbe D enied.

          Thepartieswereaffordedtheopportunitytofilewrittenobjectionsifany,fourteen(14)
   daysfrom thedateofthereportandtherecordrevealsthatobjectionswerefiledbyDefendant's
   Counselandnoted by thisCoul'
                              t.Afteradenovoreview oftheRecord and M agistrateOtazo-
   Reyes'well-reasoned Reportand Recomm endation,itishereby:
          O R DE RED A ND A DJU D G ED thatU nited States M agistrate Judge A licia M .Otazo-
   Reyes'ReportandRecommendation (ECF No.3261isherebyADOPTED AND AFFIRM ED
   in itsentirety.
   Defendant'sM otion to Suppress Evidence Seized in V iolation ofthe Fourth A m endm ent
   gECFNo.2481isDENIED.
          DONE AND ORDERED inChambersatMiami,FloridasthisD 6 dayofApril,2018.



                                                       J
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                                                             ' .M A RTIN Z
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                                                         1N 1 D STATES DISTRICT JU D GE
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   copiesprovidedto:                                                                I
   M agistrate Judge Otazo-Reyes
   AllCounselOfRecord




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